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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                )
                                         )
                        Plaintiff,       )
      vs.                                )                   Case No. 03-40142-JAR
                                         )
                                         )
DAVID C. WITTIG and                      )
DOUGLAS T. LAKE,                         )
                                         )
                        Defendants.      )
________________________________________ )

                                    MEMORANDUM AND ORDER

       This matter is before the Court on defendant Douglas Lake’s fourth Motion for subpoena

issued pursuant to Fed. R. Crim. P. 17(c) (Doc. 896). The government has filed a Response in

Opposition (Doc. 910). Defendant moved to strike the government’s opposition (Doc. 911) on

the grounds that the government lacks standing to object to the issuance of subpoenas pursuant

to Rule 17(c). The Court has considered the submissions of the parties and is now prepared to

rule. For reasons set forth in detail below, defendant’s motion to strike is denied as moot and his

Rule 17(c) motion is granted in part and denied in part.

       The Court has entered two Orders denying defendant’s previous Rule 17(c) motions

(Docs. 878 and 929), ruling that defendant did not meet the test for issuance of such subpoenas

set forth by the Supreme Court in United States v. Nixon.1 Those Orders summarized the Nixon

test, which sets forth the moving party’s burden as clearing the three hurdles of relevancy,




       1
        418 U.S. 683, 700 (1974).
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admissibility and specificity.2 The Court also ruled that the government has standing to object to

the issuance of Rule 17(c) motions, although it does not have standing to move to quash any

subpoena issued pursuant to that rule.3 The Court will not restate the text of its analysis in its

entirety, but instead incorporates the Orders by reference and relies on them as necessary in

ruling on the instant motion.

       On April 2, 2008, defendant filed the instant motion pursuant to Rule 17(c) (Doc. 896),

requesting the Court permit issuance of a subpoena duces tecum to the Custodian of Records of

Westar Energy, Inc. (“Westar” or “the Company”) seeking pretrial production of nine categories

of documents as described in the subpoena. The Court will address each category in turn.

       1.      Documents Evidencing the Strategic Planning and Corporate Development
               Plan presented at July 18, 1990 Board of Directors Meeting

       Defendant asserts that these records are relevant and evidentiary because they go directly

to defendant Lake’s defenses by establishing that the diversification strategy and actions to

pursue the strategy were settled upon and well on their way to being implemented prior to his

joining Westar. He argues that these documents will demonstrate that it was the decisions of the

Board of Directors that implemented the diversification strategy, and that only upon the Board’s

direction did the strategy grow to include decisions such as the split and merge, as identified in

the First Superseding Indictment.

       The government objects on the grounds that these records relate to when KP & L was

considering combining with KG & E to form Western Resources and that defendant already has

evidence of the fact he joined Westar when the company was exploring diversification into non-

       2
        Id.
       3
        (Doc. 929.)

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regulated industries.

       The Court denies this request as it is not relevant to whether or not defendant committed

any of the acts alleged in the First Superseding Indictment. The merger between KP &L and

KG & E, both regulated industries, was separate and distinct from the later strategy to diversify

into non-regulated industries.

       2.        Certain Director and Officer Questionnaires

       Defendant requests the following Directors and Officers Questionnaires: Larry Irick

(2001-2002); Bill Moore (1996-1997, 2001); Steve Kitchen (1996, 1998, 1999); Wayne Kitchen

(2000); John Hayes (1999); Jerry Courington 1999); Doug Henry (1999, 2001); Richard

Ginsburg (Protection One—2002); Carl Koupal (2000); Darius Nevin (Protection One—2002);

Shane Mathis (2002); and Les Morgan (2002). Defendant asserts that these records are relevant

and evidentiary because they go to defendant’s defenses, by establishing certain business

practices in existence at Westar and Protection One prior to, during and after defendant’s tenure

with the Company. Defendant contends that the Tenth Circuit specifically noted the relevance of

the many D & O questionnaires introduced into evidence at the previous trial.4 Defendant

asserts that the requested documents will merely fill in the missing D & O questionnaires that the

government has not produced.

           Although not conceding that such evidence is relevant, the government has no objection

to this request, and notes that no request was ever previously made by defendant to provide these

documents. Accordingly, defendant’s request for subpoena is granted with respect to this

category of documents.


       4
        United States v. Lake, 472 F.3d 1247, 1252-53 (10th Cir. 2007).

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       3.      Certain Board of Director and Human Resources Committee Minutes

       Defendant requests the following Board of Director Minutes: Unredacted minutes

from the December 6, 2002 special meeting of the Board of Directors of Westar; a signed copy

of the November 6, 2002 special meeting of the Board of Directors of Westar; a signed copy of

the November 15, 2002 special meeting of the Board of Directors of Westar; a signed copy of

the December 4, 2002 special meeting of the Board of Directors of Westar; all Board of

Directors or Human Resource Committee minutes showing approval of payments to any Westar

employees that held Series C Preferred Stock of Guardian International, Inc. as a result of the

redemption of the Series C Stock by Guardian; and all Board of Directors or Human Resource

Committee minutes showing presentations about, and approval of payments to any Westar

employees as a result of the redemption of stock as a result of the sale of Guardian International,

Inc. to Devcon International Corp.

       Defendant contends that these records are relevant and evidentiary because they identify

pertinent facts related to the charges against him and to his defenses, and counter the

government’s alleged “scheme to loot Westar.” Although the majority of the Board of Directors

minutes have been produced, the limited Board of Director minute documents and the Human

Resources Committee minutes are needed to complete documents in defendant’s possession for

use at trial. The Board’s approval of payments to Westar employees holding Guardian stock is

relevant because it relates directly to the Board’s decision regarding the distribution of the

Guardian Restricted Stock Units in 2002 as valid compensation that the Board intended to issue.

       Although not conceding that such evidence is relevant, the government has no objection

to this request and notes that no request was ever previously made by defendant to provide these


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documents. Accordingly, defendant’s request for subpoena is granted with respect to this

category of documents.

       4.      September 30, 2003 Appraisal of the Guardian CDE Preferred Stock

       Defendant requests the documents supporting the September 30, 2003 appraisal of the

Guardian Preferred Stock. Westar disclosed in its 2004 proxy that the Guardian shares were

revalued as of September 30, 2003: “The market value as of December 31, 2003 is based on an

appraised value as of September 30, 2003 of $803 per share of Guardian Series C preferred

stock, $381 per share of Guardian Series D preferred stock and $263 per share of Guardian

Series E preferred stock.” Defendant contends that the narrowly described records sought

supporting the appraisal are relevant and evidentiary because the appraisal refutes the assertions

made at the previous trial that the revaluation was part of a scheme by defendants to undervalue

the Guardian Stock, and it is further evidence that there was an inherent risk in the Guardian

RSU’s that were received in 2002. Defendant argues that because Westar believed it was

necessary to revalue the Guardian Stock, and because the valuation in 2003 lowered the value

below the 2001 valuation, this rebuts the inference by the government that there was anything

nefarious about the 2001 valuation.

       The government objects on the grounds that the appraisal was done after defendant Lake

was gone from the company and that the evidence presented concerning the Guardian stock at

trial was in conformity with the allegations in the First Superseding Indictment, that Wittig and

Lake concealed from the Board and Human Resources Committee that they were planning a

“first quarter 2003” acquisition of Guardian by Protection One. This would have triggered, at

the time, a $1000 per share redemption of Guardian preferred when defendants were telling other


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executives that “there were currently no plans to do so.” Thus, the government argues that any

appraisal after the period alleged in the Indictment is irrelevant to the intent of defendants at the

time of the Guardian incentive awarding and fails to meet the Nixon requirement that the

“requested material is relevant to the offenses charged in the indictment and . . . contain evidence

admissible with respect to the offenses charged.”5

       Defendant’s request for subpoena is granted with respect to this category of documents,

as the documents are relevant to his defense that Guardian stock was inherently risky. The fact

that the valuation was done after defendants left the company can be addressed on cross

examination or through other evidence.

       5.       Documents Identifying the Use of Luxury Boxes by Officers and/or Board of
                Directors and/or Spouses of the Officers and Board of Directors at Kansas
                State University, University of Kansas, Kansas Speedway, and the Flint Oak
                Hunting Club from 1996-2002

       Defendant requests documents identifying the use of tickets or luxury boxes by

Officers, the Board of Directors and/or Family Members of the Officers and Board of Directors

at Kansas State University, University of Kansas and Kansas Speedway. Defendant further

requests documents showing usage by officers, directors and their family members of the Flint

Oak Hunting Club from 1996-2002. Defendant contends that these documents are relevant as

they reflect perquisite compensation received by Officers or Directors received as part of

employment by or association with Westar. The D & O questionnaires at issue specifically ask

whether officers and directors received “personal entertainment and related expenses.” These

requested documents offer obvious illustration of both Westar’s compensation and reporting



       5
        Nixon, 418 U.S. at 700.

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practices, bearing most directly on the issue of intent. These forms will also be contrasted with

responses already in the defendant’s possession.

        The government objects, arguing that defendant offers no explanation concerning how

the intent of third parties is relevant to his intent in failing to report perks. In any event, the

government argues, no other executives or officers are charged in the Indictment.

        Defendant’s request for subpoena is granted with respect to this category of documents,

as the documents are relevant to his defense that he lacked intent because of practices of Westar

executives and the Board in not reporting these type of expenses.

        6.      Documents Identifying the Reimbursement of Country Club Membership
                Dues from 1996-2002

        Defendant requests documents identifying the reimbursement of country club or

social club membership dues from 1996-2002. Defendant contends that these documents are

relevant because they will reveal perquisite compensation, both reported and unreported, that the

Officers or Directors received as part of employment by or association with Westar. These are

relevant to the issue of corporate practice at Westar to the extent it impacted intent.

        The government objects on the grounds that defendant offers no evidence that these

records exist, or if they do, how they are relevant to his intent.

        Defendant’s request for subpoena is granted with respect to this category of documents.

Evidence that these records exist was demonstrated at the previous trials, where some officers

and directors reported this reimbursement on their D & O questionnaires, which were admitted

into evidence, and some did not. These documents are relevant to the issue of intent.

        7.      Documents Identifying the Use of Season Tickets to any Entertainment or
                Cultural Venue from 1996-2002


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               Defendant is requesting documents identifying the use of season tickets to any

entertainment or cultural venue by officers and directors from 1996-2002 (other than the specific

requests referred to in paragraph 6 above). Defendant offers the same rationale as argued in

paragraph 5.

       The government objects on the grounds that defendant offers no evidence that these

records exist, or if they do, how they are relevant to his intent.

       Defendant’s request for subpoena is granted with respect to this category of documents,

as the documents are relevant to his defense that he lacked intent because of practices of Westar

executives and the Board in not reporting these type of expenses. As previously noted, the

D & O questionnaires at issue specifically ask whether officers and directors received “personal

entertainment and related expenses.”

       8.      Documents and Reports Outlining Compensation and/or Benefits Owed to
               Douglas T. Lake since September 1, 2002

       Defendant requests documents and reports outlining compensation and/or benefits

owed to Mr. Lake since September 1, 2002 and money and stock held by Westar upon which Mr.

Lake has a claim. Defendant contends these documents are relevant, as they go directly to

Westar’s loss and issues relating to forfeiture and sentencing.

       The government objects on the grounds that loss is not an element of federal fraud. The

government also argues that this evidence is not sought on any grounds going to defendant’s

defense, but rather for forfeiture and sentencing. In any event, defendant has counterclaimed

against Westar in the arbitration proceedings and his request implicates the Court’s limine order

foreclosing any evidence at trial involving the arbitration action between defendant and Westar.

       Defendant’s request for subpoena is granted with respect to this category of documents.

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In so ruling, the Court notes that this evidence is not admissible at trial on the underlying

criminal counts, and may only be admissible during the forfeiture proceedings.

       9.      All Billing Records from Cahill Gordon & Reindel, LLP to Westar from
               January 1, 1998-June 30, 2003

       Defendant requests all billing records from Cahill Gordon & Reindel, LLP to Westar

from January 1, 1998-June 30, 2003. Defendant contends that these documents are relevant, as

they go directly to the involvement of Westar’s outside counsel in vetting and approving

multiple issues. Certain records were admitted into evidence and relied on by both the

government and defense in the previous trials. Although some very limited and redacted records

have been produced, the records are not complete and therefore, the records sought will provide

additional relevant information.

       The government objects on the grounds that the records are not being sought for any

specific purpose. Neither defendant has ever invoked an “advice of counsel” defense, argued

advice of counsel in any opening or closing statement, nor asked for instructions on that defense.

       Defendant’s request for subpoena is granted with respect to this category of documents,

to the extent they are relevant to an advice of counsel defense. The fact that defendant did not

raise this issue in the previous trials does not preclude an attempt to raise the issue in the third

trial. In so ruling, the Court does not offer an opinion as to the merits of such defense.

       IT IS THEREFORE ORDERED BY THE COURT that defendant’s fourth Motion

Pursuant to Rule 17(c) (Doc. 896) is GRANTED in part and DENIED in part, as set forth above.

The Court authorizes the issuance of a subpoena duces tecum to the Custodian of Records of

Westar Energy, Inc. calling for production of the documents as specified herein.

       IT IS FURTHER ORDERED that defendant’s Motion to Strike (Doc. 911) is DENIED

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as moot.

       IT IS SO ORDERED.

       Dated this 24th day of June 2008.

                                            S/ Julie A. Robinson
                                           Julie A. Robinson
                                           United States District Judge




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